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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

  PRESS ROBINSON, EDGAR CAGE,
  DOROTHY NAIRNE, EDWIN RENE
  SOULE, ALICE WASHINGTON, CLEE
  EARNEST LOWE, DAVANTE LEWIS,
  MARTHA DAVIS, AMBROSE SIMS,
  NATIONAL ASSOCIATION FOR THE                     Civil Action No. 3:22-cv-00211-SDD-RLB
  ADVANCEMENT OF COLORED PEOPLE
  (“NAACP”) LOUISIANA STATE
  CONFERENCE, AND POWER COALITION
  FOR EQUITY AND JUSTICE,

                     Plaintiffs,

                                   v.

  KYLE ARDOIN, in his official capacity as
  Secretary of State for Louisiana,

                    Defendant.

  EDWARD GALMON, SR., CIARA HART,
  NORRIS HENDERSON, TRAMELLE
  HOWARD,
              Plaintiffs,                          Civil Action No. 3:22-cv-00214-SDD-RLB

                                   v.

  KYLE ARDOIN, in his official capacity as
  Secretary of State for Louisiana,

                   Defendant.



PLAINTIFFS’ JOINT OPPOSITION TO DEFENDANTS’ MOTION TO CANCEL
 HEARING ON REMEDY AND ENTER A SCHEDULING ORDER FOR TRIAL

      NOW INTO COURT come Plaintiffs Edward Galmon, Sr., Ciara Hart, Norris

Henderson, and Tramelle Howard (the “Galmon Plaintiffs”) and Press Robinson, Edgar

Cage, Dorothy Nairne, Edwin Rene Soule, Alice Washington, Clee Earnest Lowe, Davante

Lewis, Martha Davis, Ambrose Sims, NAACP Louisiana State Conference, and Power


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Coalition (the “Robinson Plaintiffs”), to oppose Defendants’ emergency motion to cancel

the remedial hearing and schedule trial. The motion reprises several meritless arguments

that have already been rejected. These efforts do not warrant an unsolicited motion or

emergency briefing, let alone cancelling the scheduled remedial hearing. Defendants’

motion should be denied, and the remedial hearing should proceed as scheduled. 1

       In 2022, Louisiana’s enacted congressional map wrongfully diluted the votes of

Black Louisianians in violation of Section 2 of the Voting Rights Act. See Robinson v.

Ardoin, 605 F. Supp. 3d 759, 766 (M.D. La. 2022) (identifying likely violation). To prevent

this injustice from repeating in 2024, the urgent priority now is to ensure that a lawful

backstop is in place while this case proceeds to final judgment and through any subsequent

appeals. The appropriate process to accomplish that, as the Court has already recognized,

is to continue expeditiously to a remedial hearing and the adoption of an interim map that

satisfies Section 2’s commands. See Order, ECF No. 250 (resetting preliminary injunction

hearing).

       Defendants, again, seek to derail this process. Their strategy has consistently been

to slow-walk this case, only to later announce that the time for entering relief has run out.

Cf. Pls.’ Joint Opp’n to State Intervs.’ Mot. for Ext. of Time at 1, ECF No. 218 (noting

Defendants’ gambit); Galmon Pls.’ Resp. to Leg. Intervs.’ Mot. for Ext. of Time at 5, ECF

No. 192 (same). Defendants should not be permitted to pursue this strategy again. As

Defendants acknowledge, additional delays could jeopardize any entry of relief in time for



1
 While Plaintiffs maintain that Defendants’ Motion for Expedited Consideration, ECF No.
261, attempts to manufacture an emergency where none exists, Plaintiffs are willing to
accommodate Defendants’ request for speedy briefing by filing this opposition in advance
of their proposed deadline. See id. ¶ 4 (requesting Plaintiffs’ response by Wednesday,
August 30).


                                             2
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the 2024 elections. See Defs.’ Mem. of Law in support of Emergency Mot. (“Mem.”) 5,

ECF No. 260-1 (asserting there “is just enough time to hold a trial on the merits and to

allow the appellate process to run its course in advance of” the 2024 elections). That would

be unjust, and the way to prevent it is to adopt a provisional remedial map soon—exactly

as this Court is on track to do, with the benefit of the hearing scheduled for October. 2

       Defendants erroneously argue, again, that recent Supreme Court caselaw requires

a reevaluation of Plaintiffs’ liability-phase evidence. See Mem. 9–10 (citing Allen v.

Milligan, 143 S. Ct. 1487 (2023), and Students for Fair Admissions, Inc. v. President &

Fellows of Harvard College, 143 S. Ct. 2141 (2023) (SFFA)). It does not. Allen affirmed a

preliminary injunction that closely parallels the one at issue here, and SFFA had nothing to

do with redistricting. See Pls.’ Joint Notice Re: Status Conf. at 3–4, ECF No. 242. Notably,

the Fifth Circuit recently rejected Defendants’ request to remand their appeal for further

consideration in light of Allen and SFFA, and the court of appeals is instead proceeding

with argument on October 6, 2023—conveniently timed after the remedial hearing

scheduled here. See Order, Robinson v. Ardoin, No. 22-30333 (5th Cir. Aug. 22, 2023).

       Defendants also argue, again, that the preliminary injunction is somehow moot. See

Mem. 10. It is not. See Pls.’ Joint Notice Re: Status Conf. at 4–5 (explaining the Court

enjoined Defendants from conducting any congressional election under the enacted map).

And they complain, again, that completing the preliminary injunction process would be

“unfair,” and maybe even unconstitutional. Mem. 7–8. Again, wrong. See Pls.’ Joint Notice




2
  Additionally, there is currently no obstacle to proceeding towards a trial simultaneously
with the remedial process or after a provisional remedy is in place. But Defendants have
failed to take even the first step toward initiating merits discovery by requesting a discovery
conference pursuant to Federal Rule of Civil Procedure 26(f).


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Re: Status Conf. at 5–6 (explaining that “while the Court can also move towards a final

judgment in this case, there is no basis to reverse the relative positions of the parties

achieved through the preliminary injunction or skip over the remedial process necessary to

effectuate that injunction”). The Court has already decided that a remedial hearing is

appropriate, and repetitive motions for reconsideration—in style or substance—are

inappropriate. Cf. Pls.’ Joint Opp’n to State Intervs.’ Mot for Extension of Time at 1–2,

(recognizing another instance where Defendants’ request for delay mirrored a request

denied by the Court 12 days prior). 3

       The only pending question for this Court’s resolution, then, is what, if any,

additional process is necessary in advance of the October hearing. When the Supreme

Court stayed proceedings in this case on June 28, 2022, the parties were on the literal eve

of the remedial hearing. Accordingly, the preparation necessary for that hearing had

essentially finished: inclined parties had submitted proposed remedial maps and

memoranda in support; opposing parties had responded; witnesses and exhibits had been

disclosed; expert reports had been served; and Defendants had deposed each of the two

experts that Plaintiffs’ intended to call at the hearing. See Scheduling Order, ECF No. 206. 4

“‘[R]esetting’ the previous preliminary injunction hearing,” as Defendants have urged,



3
  Also inappropriate is Defendants’ pattern of seeking to usurp this Court’s case
management authority. See Mem. 2 (castigating Court for failing to issue scheduling
order); Mot. for Expedited Consideration at 2 (seeking to impose deadline for Court to rule
on motion to cancel remedial hearing); Emergency Mot. of Leg. Interv. Defs.-Appellants
for Stay Pending Appeal at 1, Robinson v. Ardoin, No. 20-303333 (5th Cir. June 9, 2023)
(castigating this Court for “t[aking] no action for 24 days” after preliminary injunction
hearing); id. at 18–19 (similar). It is the parties’ responsibility to conform to the Court’s
judgment about the appropriate schedule, not vice versa.
4
  The deposition of a Defendants’ expert was interrupted by the Supreme Court’s stay.
Plaintiffs are willing to continue to the remedial hearing without completing this
deposition.


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Defs.’ Joint Notice of Proposed Pre-Hearing Schedule at 6—where all that remains is live

testimony and argument before the Court—would eliminate any purported prejudice to

Defendants and permit the Court to quite literally pick up where this case left off in June

2022.

        Defendants’ motion should be denied.




Date: August 28, 2023                        Respectfully submitted,

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